Case 3:16-md-02738-MAS-RLS            Document 33652          Filed 04/16/25     Page 1 of 3 PageID:
                                           263671



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON TALCUM                   MDL No. 16-2738 (MAS) (RLS)
     POWDER PRODUCTS MARKETING,                        JUDGE MICHAEL A. SHIPP
     SALES PRACTICES, AND PRODUCTS                     MAG. JUDGE RUKHSANAH L. SINGH
     LIABILITY LITIGATION
     THIS DOCUMENT RELATES TO:
     JOSEPH JOHN KELEHER, individually and             Civil Action No. 3:18-cv-02561
     on behalf of the Estate of Cheryl Diane
     Keleher; and Jordan Lane Miller
                                                       RESPONSE TO AUGUST 15, 2024
                    Plaintiff(s),                      ORDER TO SHOW CAUSE (DKT.
     v.                                                33096)

     JOHNSON & JOHNSON and JOHNSON &
     JOHNSON CONSUMER INC.

                    Defendants.




          Sara Beth Craig of Peiffer Wolf Carr Kane Conway & Wise, LLP, counsel of record for

  Plaintiff Joseph John Keleher, individually and on behalf of the Estate of Cheryl Diane Keleher,

  submits the following Response to the Court’s August 15, 2024 Order to Show Cause Why Cases

  on the Attached Exhibit A Should Not Be Dismissed With Prejudice (Dkt. 33096).
          On March 6, 2018, a Short Form Complaint was directly filed on behalf of Plaintiff Joseph

  John Keleher, individually and on behalf of the Estate of Cheryl Diane Keleher, et al. in MDL No.

  2738. Pursuant to the September 1, 2023 Amended Plaintiff’s Profile Form (“PPF”) Order, a

  Plaintiff Profile Form, core records, and signed medical records authorization were required to be

  served upon Defendants via MDL Centrality by a certain date. During the pendency of the

  bankruptcy, counsel for Plaintiff moved firms, and transfer of Plaintiff’s file from counsel’s prior

  firm was delayed, including transfer of the records in MDL Centrality. However, upon receipt of

  the case file and transfer of the MDL Centrality records, counsel for Plaintiff completed and served


                                                   1
Case 3:16-md-02738-MAS-RLS             Document 33652         Filed 04/16/25      Page 2 of 3 PageID:
                                            263672



  the Plaintiff Profile Form on April 15, 2024, prior to the filing of Defendants’ Motion to Dismiss.

  As such, Plaintiff respectfully requests that the Court not dismiss the case with prejudice.

  Dated: April 16, 2025                 Respectfully submitted,

                                                /s/ Sara Beth Craig
                                                Sara Beth Craig
                                                PEIFFER WOLF CARR KANE CONWAY &
                                                WISE LLP
                                                555 Montgomery Street, Suite 820
                                                San Francisco, CA 94111
                                                Telephone: (415) 766-3544
                                                Facsimile: (415) 840-9435
                                                Email: scraig@peifferwolf.com




                                                   2
Case 3:16-md-02738-MAS-RLS           Document 33652         Filed 04/16/25     Page 3 of 3 PageID:
                                          263673




                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was electronically filed through the Court’s

  CM/ECF system on April 16, 2025, which shall send notification of such filing to all CM/ECF

  participants.

                                              /s/ Sara Beth Craig
                                              Sara Beth Craigr




                                                 3
